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                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES OLYMPIC AND PARALYMPIC
COMMITTEE,
                                                             Case No. 1:24-cv-08973
        Plaintiff,
                                                             Judge Jeremy C. Daniel
v.
                                                             Magistrate Judge Sheila M. Finnegan
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.

                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                NO.                                    DEFENDANT
                 35                                Bai Yi da mens clothing
                 94                                     Hope T Shirt
                 129                                   Naughty brand
                 33                                     ZFJSZMHH
                 132                                      Nuwdhp
                 128                                 Natural curly Lady
                 13                                     Mopyt Direct
                     4                  foshanshilingmolongshangmaoyouxiangongsi
                 137                                     Pearl Glow
                 116                                   Mantanghuang
                 75                                   FSSZH Clothing
                 178                                       VitaFith
                 172                                  TUOTUOFUSHI
   Case: 1:24-cv-08973 Document #: 37 Filed: 11/10/24 Page 2 of 3 PageID #:2180




             30                                xuwenquan
            105                                   JXRY
            120                                Mensdesign
            187                              WONDERGIFT
            143                              Really Suitable
             44                               Bowknot Mori
            124                              MON AMOUR
            138                               Pearl Radiance
             26                                  Vavyrtle
            121                                  mensky
             25                                Uaqqx Store



DATED: November 10, 2024                    Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            33 W. Jackson Blvd., #2W
                                            Chicago, Illinois 60604
                                            Telephone: 312-971-6752
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on November 10, 2024 with the Clerk of the Court using the
CM/ECF system, which will automatically send an email notification of such filing to all registered
attorneys of record.

                                                     /s/ Keith A. Vogt
                                                     Keith A. Vogt
